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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

MATTHEW PLISKIN, as Trustee                    §
of the ICPW Nevada Trust,                      §
                                               §
              Plaintiff,                       §
                                               §
v.                                             §           Civil No. 3:19-CV-1179-K
                                               §
ROBERT GOLDSTEIN and DRG                       §
STRATEGIC, LLC,                                §
                                               §
              Defendant.                       §

           ORDER REQUIRING SCHEDULING CONFERENCE AND
            REPORT FOR CONTENTS OF SCHEDULING ORDER

       Pursuant to Fed. R. Civ. P. 16(b), Rule 26 and the Court’s Civil Justice Expense
and Delay Reduction Plan (the “Plan”), the Court enters this Order to promote possible
early settlement of this action and to facilitate subsequent entry of a Scheduling Order.
This Order is being sent to all counsel and unrepresented parties who have appeared.
If there are other parties who have not appeared, but who have been in contact with the
plaintiff or plaintiff’s counsel, then the plaintiff’s counsel (or the plaintiff if the plaintiff
is unrepresented) is responsible for contacting such parties and making every effort to
ensure their meaningful participation in the conference described below.

                                               I.

       Lead counsel for each party (or designee attorney with appropriate authority) and
any unrepresented party (except for a prisoner litigant proceeding pro se) shall confer as
soon as practicable, but in no event later than 20 days from the date of this order (the
“Scheduling Conference”) to confer and (1) consider the nature and basis for the claims
and defenses; (2) consider the possibilities for a prompt resolution of the case; (3) to
make or arrange for the disclosure required by Fed. R. Civ. P. 26(a)(1) and prepare the
report described below. It is the Court’s belief that a personal face-to-face meeting is
usually the most productive type of conference, but the Court will leave the
determination of the form for the Scheduling Conference to the professionalism of the
parties. As a result of the Scheduling Conference, counsel shall prepare and submit a
Report Regarding Contents of Scheduling Order (“Joint Report”). The Joint Report shall

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also include a status report on settlement negotiations, but shall not disclose settlement
figures.
              If plaintiff(s) and defendant(s) have not already filed a Certificate of
Interested Persons with the Clerk of Court, they are directed to do so no later than 7
days from the date of this order so that the Court may ensure that recusal is not
necessary.

                                           II.

      The Joint Report, which shall be filed no later than 10 days from the date of the
scheduling conference, shall include the following in separate numbered paragraphs,
but not in the format of a proposed order.

      1.     A brief statement of the claims and defenses;
      2.     A proposed time limit to file motions for leave to join other parties;
      3.     A proposed time limit to amend pleadings;
      4.     A proposed time limit to file various types of motions, including dispositive
             motions. The Court prefers the deadline for dispositive motions to be 120
             days before trial.
      5.     A proposed time limit for initial designation of experts;
      6.     A proposed time limit for responsive designations of experts;
      7.     A proposed time limit for objections to experts (i.e. Daubert and similar
             motions);
      8.     A proposed plan and schedule for discovery, a statement of the subjects on
             which discovery may be needed, a time limit to complete factual discovery
             and expert discovery, and a statement of whether discovery should be
             conducted in phases or limited to particular issues;
      9.     What changes should be made in the limitations on discovery imposed
             under the Federal Rules of Civil Procedure or by local rule, and what other
             limitations should be imposed;
      10.    A proposed trial date, estimated number of days required for trial, and
             whether a jury has been properly demanded; (The parties should note that
             the Court operates a three-week docket beginning the first Monday of each
             month. Therefore, the parties should propose a trial date which
             corresponds with the first Monday of the agreed upon month.)
      11.    A proposed date for further settlement negotiations;
      12.    Objections to Fed. R. Civ. P. 26(a)(1) asserted at the Scheduling
             Conference, and other proposed modifications to the timing, form, or
             requirements for disclosure under Rule 26(a), including a statement as to
             when disclosures under Rule 26(a)(1) were made or will be made;

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       13.    Whether the parties will consent to trial (jury or non-jury) before U.S.
              Magistrate Judge (consent attached).
       14.    Whether the parties are considering mediation or arbitration to resolve this
              litigation and a statement of when alternative dispute resolution would be
              most effective (e.g. before discovery, after limited discovery, after motions
              are filed, etc.), and, if mediation is proposed, the name of any mediator the
              parties jointly recommend to mediate the case;
       15.    Any other proposals regarding scheduling and discovery that the parties
              believe will facilitate expeditious and orderly preparation for trial;
       16.    Whether a conference with the Court is desired and the reasons for
              requesting a conference; and
       17.    Any other matters relevant to the status and disposition of ths case,
              including any other orders that should be entered by the Court under Fed.
              R. Civ. P. 16(b), 16(c), and 26(c).

        Filing the Joint Report is mandatory, and the proposed deadlines provided
shall be submitted as a date certain. (e.g. January 30, 2016.) All parties shall
endeavor to prepare joint suggestions, but if they cannot agree, the Joint Report shall
reflect their respective views. In such a case, the Joint Report shall set forth with each
party’s respective recommendation a statement of why agreement could not be reached.
The names of any persons in the case who did not participate in the conference shall be
identified in the Joint Report.

                                            III.

        Unless plaintiff is unrepresented, lead counsel for plaintiff is responsible for
initiating contact with opposing counsel and all unrepresented parties for the purpose
of arranging the Scheduling Conference and preparing the Joint Report. Lead counsel
for all parties and unrepresented parties are equally responsible for seeing that this Order
is complied with in a timely manner. At least one counsel for each party and all
unrepresented parties shall sign the Joint Report prior to filing.


                                            IV.

       Because Fed. R. Civ. P. 16(b) requires the Court to enter a Scheduling Order “as
soon as practicable but in any event within 90 days after the appearance of a defendant
and within 60 days after the complaint has been served on a defendant,” any request for
an extension of time to file the Joint Report shall be denied absent a showing of good
cause.

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                                           V.

      Once the Scheduling Order is issued, an extension of the trial date will not
be granted absent extraordinary circumstances. Without filing a motion, the parties
may not agree to extend any date in the Scheduling Order.

                                          VI.

       Unless this is an action exempted by Fed. R. Civ. P. 26(a)(1)(E), or an objection
to disclosure is asserted at the Scheduling Conference in good faith, as provided in Fed.
R. Civ. P. 26(a)(1), the parties must make disclosures as required by Fed. R. Civ. P.
26(a)(1) no later than 14 days from the date of the scheduling conference.

      SO ORDERED.

      Signed May 30th, 2019.

                                                 ____________________________________
                                                 ED KINKEADE
                                                 UN ITED STATES DISTRICT JUDGE




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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS

                        ______________________________ DIVISION

______________________
    Plaintiff

v.                                                Docket No. ___________________________

______________________
    Defendant

     CONSENT TO PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGE

        In accordance with the provisions of 28 U.S.C. § 636(c), the parties to the above
captioned civil matter hereby waive their right to proceed before a Judge of the United States
District Court and consent to have a United States Magistrate Judge conduct any and all further
proceedings in the above styled case (including the trial) and order entry of a final judgment.

        Party or Counsel of Record                            Date

        _________________________                             _____________________

        _________________________                             _____________________

        _________________________                             _____________________

NOTE:          Return this form to the District Clerk only if it has been executed by all parties to
               the case.


                                ORDER OF REASSIGNMENT

       IT IS HEREBY ORDERED that the above captioned matter be reassigned to the United
States Magistrate Judge ___________________________ for the conduct of all further
proceedings and the entry of final judgment in accordance with 28 U.S.C. § 636(c) and the
foregoing consent of the parties.

DATED: ____________                                      _______________________________
                                                         UNITED STATES DISTRICT JUDGE




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                TRIALS BY THE UNITED STATES MAGISTRATE JUDGE

        Miscellaneous Order #6 of the Northern District of Texas provides that the United States

Magistrate Judges of this district court may, upon the consent of all parties in a civil case, conduct

any or all proceedings in a civil case, including a jury or non-jury trial, and order the entry of a final

judgment, in accordance with 28 U.S.C. § 636(c). It is your obligation to serve the following

“Notice of Right to Consent to Disposition of a Civil Case by a United States Magistrate Judge”, and

the attached consent form, upon the defendant(s) with the complaint and summons.

                          NOTICE OF RIGHT TO CONSENT TO
                      DISPOSITION OF A CIVIL CASE BY A UNITED
                             STATES MAGISTRATE JUDGE

        In accordance with the provisions of 28 U.S.C. § 636(c), you are hereby notified that the

United States Magistrate Judges of this district court, in addition to their other duties, may, upon the

consent of all parties in a civil case, conduct any or all proceedings in a civil case, including a jury

or non-jury trial, and order the entry of a final judgment. Copies of appropriate consent forms for

this purpose are available from the clerk of the court.

        If a consent form is not filed within 20 days of the date that all parties have filed an answer

or otherwise responded, the court will deem that failure as evidence that the parties wish that the

cause of action proceed before the district judge to whom the case was assigned at the time it was

originally filed. Should all the parties subsequently consent to trial by a magistrate judge, however,

the district judge may in his/her discretion so order. Pursuant to 28 U.S.C. § 636(c), appeal to the

United States Court of Appeals for the Fifth Circuit from a judgment of a magistrate judge is

permitted in the same manner as an appeal from any other judgment of the Court.




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